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IN THE UNITED sTATEs DISTRICT coURT Fu.€n ny 5 . .
FoR THE WESTERN DIsTRIcT oF TENNEssEE ` "“ mh

wEsTERN DIVISION 05 JU;*-§ -S PH 5' 02

 

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AUNDREY ME.ALS, W - _. _ c.
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individually, and as next
friend of JAMES HARVEY MEALS,
deceased, and as natural
parent, guardian, and next
friend of WILLIAM MEALS,

a minor child,

Plaintiffs,
v.

No. 03-2077 Ml/An

cITY oF MEMPHIS, TENNESSEE,
BRIDGETTE KING, and
FORD MoToR coMPANY,

vvvvvvvvvvvvvvvvv

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART MDTION OF DEFENDANT
BRIDGETTE KING TO DISMISS AND/OR IN THE ALTERNATIVE FOR SUMMARY
JUDGMENT

 

Before the Court is the Motion of Defendant Bridgette King
to Dismiss and/or in the Alternative for Summary Judgment to the
Amended Complaint, filed May 2, 2005. Plaintiff responded in
opposition on May 31, 2005. For the following reasons, the
motion is GRANTED in part and DENIED in part.

I . BACKGROUND

This case arises out of a motor vehicle accident in which
Plaintiff James Harvey Meals was killed and Minor Plaintiff
William Meals received injuries resulting in paraplegia. On
January 18, 2002, James Albert Meals was driving his 1995 Mercur

Grand Marquis southbound on Covington Pike with Piaintiff Jam s. CZ) 2

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Harvey Meals and Minor Plaintiff William Meals riding as
passengers. On the same date and in the same general area, John
M. Harris was driving an older model Oldsmobile Cutlass.

At approximately 6:30 p.m., Mr. Harris drove past City of
Memphis Police Officer Bridgette King. Officer King, while
stopped in her police vehicle in the westbound turn lane of
Raleigh-LaGrange Road, clocked Mr. Harris traveling at eighty one
miles per hour in the eastbound lanes of Raleigh~LaGrange Road.
Officer King then executed a u~turn and began following Mr.
Harris's vehicle. Plaintiffs assert that ultimately Officer King
instituted a high speed pursuit of Mr. Harris reaching speeds of
eighty to ninety miles per hour.1

Mr. Harris then turned from Raleigh La-Grange Road onto
Covington Pike, where he was initially traveling northbound in
the southbound lanes and then crossed the median to continue
driving in the northbound lanes. Eventually, Mr. Harris’s
vehicle crossed into the southbound lanes of Covington Pike and
struck the vehicle driven by James Albert Meals. Both James
Albert Meals and Plaintiff James Harvey Meals were killed in the
collision. Minor Plaintiff William Meals sustained severe
injuries in the collision resulting in paraplegia. Plaintiffs

have filed suit against Defendant King for violation of their

 

1 The parties dispute whether Officer King was in pursuit of
Mr. Harris.

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federal constitutional rights under 42 U.S.C. § 1983 as well as
negligence under Tennessee law.

II. STANDARDS OF REVIEW

Defendant King has moved to dismiss or,r in the alternative,
for summary judgment regarding all of Plaintiffs’ claims against
her. The Court will address the standards of review relevant to
the motion below.

A. Federal Rule of Civil Procedure 12(b)(6)

A defendant may move to dismiss a claim “for failure to
state a claim upon which relief can be granted” under Federal
Rule of Civil Procedure 12(b)(6). When considering a Rule
12(b)(6) motion, a court must treat all of the well-pleaded
allegations of the complaint as true. Savlor v. Parker Seal Co.,
975 F.2d 252, 254 (6th Cir. 1992). Furthermore, the court must
construe all of the allegations in the light most favorable to
the non-moving party. Scheuer v. Rhodes, 416 U.S. 232, 236
(1974). “A court may dismiss a [claim under l2(b}(6)] only if it
is clear that no relief could be granted under any set of facts
that could be proved consistent with the allegations.” Hishon v.
King & Spalding, 467 U.S. 69, 73 (1984).

B. Federal Rule of Civil Procedure 56(c)

Under Federal Rule of Civil Procedure 56(c), summary

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judgment is proper if . . . there is no genuine issue as to any
material fact and . . . the moving party is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(c); see also Celotex

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Corp. v. Catrett, 477 U.S. 3l7, 322 (1986). The Supreme Court
has explained that the standard for determining whether summary
judgment is appropriate is “whether the evidence presents a
sufficient disagreement to require submission to a jury or
whether it is so one-sided that one party must prevail as a
matter of law.” Anderson v. Libertv Lobbv, Inc., 477 U.S. 242,
251-252 (1989).

So long as the movant has met its initial burden of
“demonstrat[ing] the absence of a genuine issue of material
fact,” Celotex, 477 U.S. at 323, and the nonmoving party is
unable to make such a showing, summary judgment is appropriate.
Emmons v. McLaughlin, 874 F.2d 351, 353 (6th Cir. 1989). In
considering a motion for summary judgment, “the evidence as well
as all inferences drawn therefrom must be read in a light most
favorable to the party opposing the motion.” Kochins v.
Linden~Alimak. lnc., 799 F.2d 1128, 1133 (6th Cir. 1986); see
also Matsushita Elec. lndus. Co. v. Zenith Radio Corp., 475 U.S.
574, 587 (1986). “[A]t the summary judgment stage the judge's
function is not himself to weigh the evidence and determine the
truth of the matter but to determine whether there is a genuine
issue for trial.” Anderson, 477 U.S. at 249.

III. ANALYSIS

Defendant King has moved to dismiss or in the alternative

for summary judgment as to all of the claims asserted against

her. ln particular, Defendant King contends that she is neither

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liable under 42 U.S.C. § 1983 nor liable for negligence under
Tennessee law. The Court will address Plaintiffs’ federal law
claims and state law claims in turn.

A. 42 U.S.C. § 1983

Section 1983 does not create substantive rights, but rather
serves as a “method for vindicating federal rights elsewhere
conferred.” Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979). To
establish a prima facie case under Section 1983, a plaintiff must
prove two elements: (1) that the government action occurred
“under color of law” and (2) that the action is a deprivation of
a constitutional right or federal statutory right. Parratt v.
Taylor, 451 U.S. 527, 535 (1981); Block v. Ribar, 156 F.3d 673,
677 (6th Cir. 1998). “The first step in any such claim is to
identify the specific constitutional right allegedly infringed.”
Albright v. Oliver, 510 U.S. 266, 271 (1994).

In this case, Plaintiffs assert that the high speed police
pursuit of Mr. Harris and the subsequent motor vehicle accident
violated rights conferred under the Constitution of the United
States. The Court will address the application of the Fourth and
Fourteenth Amendments to the Constitution to this action.

1. Fourth Amendment

Defendant King contends that Plaintiffs cannot maintain a

Fourth Amendment claim under § 1983. The Fourth Amendment is not

implicated in police pursuit claims. Countv of Sacramento v.

Lewis, 523 U.S. 833, 843-44 (1988). Plaintiffs assert, however,

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that such claims are properly asserted under the Fourteenth
Amendment. Accordingly, Defendant King’s motion to dismiss the
Fourth Amendment claim is GRANTED.

2. Fourteenth Amendment

A claim may be properly brought under the Fourteenth
Amendment for an injury resulting from a police pursuit to a
person who was not the intended target of the pursuit. ld; at
845-49. To prevail on such a claim, the plaintiff must prove
that the defendant officer’s conduct “shocks the conscience.”
ld; at 846-49.

Defendant King concedes that the parties dispute the facts
relevant to the disposition of this case, and that each party
points to evidence in the record to support its contentions.
However, Defendant King contends that, even accepting Plaintiffs’
contentions of fact, Plaintiffs nonetheless cannot establish as a
matter of law that Defendant King's conduct shocked the
conscience. The Court finds that Plaintiff has pointed to
sufficient evidence in the record which, if proven true at trial,
would prove that Defendant King violated Memphis Police
Department policies and procedures by initiating and continuing
the chase in a way that shocked the conscience. Accordingly,
Defendant King’s motion to dismiss or in the alternative for
summary judgment regarding Plaintiffs’ § 1983 claim under the

Fourteenth Amendment is DENIED.

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3. Tennessee Constitution

Defendant King also moves to dismiss Plaintiff’s § 1983
claim based upon the violation of rights under the Tennessee
Constitution. Generally, a § 1983 claim must be predicated on
the deprivation of a federal constitutional right. Washington v.
Starke, 855 F.2d 346, 348 (6th Cir. 1988). Section 1983 does not
cover state constitutional violations that are not also federal
constitutional deprivations. Huron Vallev Hosp. v. Citv of
Pontiac, 887 F.Zd 710, 714 (6th Cir. 1989). Accordingly,
Defendant King’s motion to dismiss Plaintiffs' § 1983 claim based
upon any purported violation of the Tennessee Constitution is
GRANTED.

4. Loss of Consortium Under § 1983

Plaintiff concedes that there is no claim for loss of
consortium in a cause of action for violations of § 1983.
Accordingly, Defendant King's motion to dismiss Plaintiffs’ loss
of consortium claim based upon § 1983 is GRANTED.

B. Qualified Immunity

Defendant King contends that she is entitled to qualified
immunity regarding Plaintiffs' § 1983 claims. “Government
officials performing discretionary functions are afforded
qualified immunity, shielding them from civil damages, as long as
their conduct does not violate clearly established statutory or
constitutional rights of which a reasonable person would have

known.” Poe v. Ha don, 853 F.2d 418, 423 (6th Cir. 1988). See

 

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also Vaughn v. United States Small Bus. Admin., 65 F.3d 1322,

1326 (6th Cir. 1995) {Citing Harlow v. Fitzderald, 457 U.S. 800,

 

818 (1992)). ln order to defeat Defendant's claims of qualified
immunity, Plaintiff must show: (1) that a clearly established
right has been violated; and (2) the official would have known
that her conduct violates that right.

The Court finds that Defendant King is not entitled to
summary judgment on the basis of qualified immunity for the same
reasons that the Court has denied Defendant King's motion for
summary judgment as to the Fourth Amendment claim. A showing
that Defendant King violated Memphis Police Department policies
and procedures by initiating and continuing the chase in a way
that shocked the conscience, as alleged by Plaintiffs, would
evidence a violation of Plaintiffs’ rights under the Fourth
Amendment. Furthermore, the Court finds that the right to be
free from a police pursuit that shocks the conscience is clearly
established and that a reasonable police officer would know that
such action violates that right. Defendant King’s motion for
summary judgment on the basis of qualified immunity is therefore
DENIED.

C. Tennessee Law Negligence Claims

Defendant King also moves to dismiss or in the alternative
for summary judgment regarding Plaintiffs' negligence claims
under Tennessee law. Plaintiffs concede, however, that they may

not maintain a state law cause of action for negligence against

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both Defendant King and the City of Memphis, and that they have
elected to pursue their claims for negligence against Defendant
City of Memphis under the Tennessee Governmental Tort Liability
Act. (See Pl.'s Resp. to Def. Bridgette King's Mot. to Dismiss
or, in the Alternative, for Summ. J. to the Am. Compl. at 21.)
Accordingly, Defendant King's motion to dismiss Plaintiffs'
Tennessee law negligence claims is GRANTED.
IV. CONCLUSION

For the foregoing reasons, the Court GRANTS Defendant King's
motion to dismiss or, in the alternative, for summary judgment as
to Plaintiffs’ claims under § 1983 for violation of the Fourth
Amendment, the Tennessee Constitution, and for loss of
consortium, and as to Plaintiffs' claim of negligence pursuant to
Tennessee law. The Court DENIES Defendant King's motion for
summary judgment as to Plaintiffs' claim under § 1983 for
violation of the Fourteenth Amendment and on the basis of

qualified immunity.

So ORDERED this Lé?day of June, 2005.

§m Oill

P. MCCALLA
UO TED STATES DISTRICT JUDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 302 in
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